         Case 1:21-cv-06596-JMF Document 15 Filed 11/05/21 Page 1 of 1



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                                                         November 5, 2021

VIA ECF

Judge Jesse M. Furman
United States District Judge
Southern District of New York
40 Centre Street, Room 2202
New York, NY 10007

       Re: Jose Garcia v. Saigon Shack Café Corp. d/b/a Saigon Shack and Mike Khuu
           No. 21 Civ. 06596 (JMF) (KNF)

Dear Judge Furman:

       We represent Plaintiff in the above-referenced matter and submit this letter to
request a 60-day adjournment of the Initial Pre-Trial Conference scheduled for November
10, 2021, at 4:30 p.m.

        By way of background, until recently, the undersigned and an attorney for
Defendants have been engaged in preliminary settlement discussions including an
exchange of Plaintiff’s payroll records to seek an early resolution of this matter.
However, on November 2, 2021, counsel informed us that Defendants were retaining
litigation counsel to appear in this matter and that he was not authorized to accept service
of Complaint and summonses. As a result, we served Defendants with the Complaint
and summonses on November 3, 2021 (see ECF Nos. 12-13), and their Answers are due
on November 24, 2021 (id.). Accordingly, we request this adjournment to provide
sufficient time for Defendants to Answer and to comply with Your Honor’s Order (ECF
No. 9) directing the parties to participate in a settlement conference with Magistrate Judge
Kevin Nathaniel Fox prior to the initial conference.

       This is the first request to adjourn the Initial Pre-Trial Conference.

                                                         Respectfully submitted,

                                                         s/Vivianna Morales

                                                         Vivianna Morales
                                     Application GRANTED. The initial pretrial conference currently
cc: Defendants (via regular mail)
                                     scheduled for November 10, 2021, is hereby ADJOURNED to
                                     January 6, 2022, at 4:00 p.m. The Clerk of Court is directed to
                                     terminate ECF No. 14. SO ORDERED.



                                                                          November 5, 2021
